Case 4:02-cr-00088-ALM-CAN            Document 642        Filed 08/14/13      Page 1 of 2 PageID #:
                                             1386




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 v.                                               §                CRIMINAL NO. 4:02-CR-00088
                                                  §
 ANDRE RETAY TONEY (8)                            §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on August 6, 2013, to determine whether Defendant violated his supervised

 release. Defendant was represented by Frank Henderson. The Government was represented by Andy

 Williams.

        On July 2, 2003, Defendant was sentenced by the Honorable Paul Brown, United States

 District Judge, to a sentence of 92 months imprisonment followed by a 4 year term of supervised

 release for the offense of conspiracy to manufacture, distribute, possess, and dispense cocaine base

 (crack) marijuana. Defendant began his term of supervised release on August 21, 2009. This term

 of supervised release was revoked on December 28, 2010, and Defendant was sentenced to 20

 months imprisonment consecutive with any other sentence being served followed by an additional

 28 month term of supervised release. Defendant began this new term of supervised release on

 November 20, 2012. On November 20, 2006, the case was transferred to the Honorable Richard A.

 Schell, United States District Judge.




                                                   1
    Case 4:02-cr-00088-ALM-CAN             Document 642         Filed 08/14/13      Page 2 of 2 PageID #:
                                                  1387



             On April 22, 2013, the U.S. Probation Officer filed a Petition for Warrant or Summons for

     Offender Under Supervision (the “Petition”) (Dkt. 628). The Petition asserts that Defendant violated

     the following conditions of supervision: (1) Defendant shall notify the probation officer at least ten

     days prior to any change in residence or employment.

             The Petition alleges that Defendant committed the following violations: (1) Defendant was

     residing at the Reid Community Correctional Facility located at 10950 Beaumont Hwy, Houston,

     Texas, as a condition of his Texas State Parole. On or about March 16, 2013, Defendant failed to

     return to the facility and notify the U.S. Probation Office of his change in residence. At the time this

     petition was filed, Defendant’s whereabouts were unknown.

             At the hearing, Defendant entered a plea of true to the alleged violations. Defendant waived

     his right to allocute before the district judge and his right to object to the report and recommendation

     of this Court. The Court finds that Defendant has violated the terms of his supervised release and

     that his supervised release should be revoked.

                                           RECOMMENDATION

             Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

.    presented at the August 6, 2013 hearing, the Court recommends that Defendant be committed to the

     custody of the Bureau of Prisons to be imprisoned for a term of thirteen (13) months, with no

     supervised release to follow. The Court further recommends that Defendant’s term of imprisonment

     be carried out in El Reno FCI, if eligible.

          SIGNED this 14th day of August, 2013.

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                                                   ____________________________________
                                                   DON D. BUSH
                                                   UNITED
                                                       2   STATES MAGISTRATE JUDGE
